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                        IN THE UNITED STATES DISTRICT COURT FOR
                            THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division


 Janet Beasley                                )
                                              )
                        Plaintiff,            )
           v.                                 )     Civil Action No. 1:12-cv-1312-AJT-TRJ
                                              )
 Red Rock Financial Services, LLC,            )
                                              )
                        Defendant.            )
                                              )

                                           ORDER

                 Upon review of the parties’ submissions dated March 15, 2013, it is ORDERED

 that the settlement conference scheduled for March 26, 2013, is cancelled and removed from the

 docket.

                 ENTERED this 18th day of March, 2013.



                                                                         /s/
                                                             Thomas Rawles Jones, Jr.
                                                           United States Magistrate Judge

 Alexandria, Virginia
